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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA

  IN RE:

  JAMES EDWARD MCCABE                                   Bankr. Case No. 23-70100
  ANGELA MARIE MCCABE,

                 Debtors.

  JOHN P. FITZGERALD, III,
  ACTING UNITED STATES TRUSTEE
  FOR REGION FOUR,

                  Movant,
  v.

  JAMES EDWARD MCCABE
  ANGELA MARIE MCCABE,

                 Respondents.



                             MOTION OBJECTING TO DISCHARGE

       Comes now John P. Fitzgerald, III, the Acting United States Trustee for Region Four, and

objects to the discharge of the debtors and, in support thereof, states as follows:

       1. Movant is the United States Trustee for Region Four.

       2. This contested motion arises in the bankruptcy case of James Edward McCabe and

Angela Marie McCabe (“respondents” or “debtors”), case no. 23-70100. The bankruptcy case

was commenced by the filing on February 14, 2023 of a voluntary petition under Chapter 13 of

Title 11. The case was converted to a case under Chapter 7 on April 19, 2023, and is still

pending before this court.

       3. The court has jurisdiction in this motion pursuant to 28 U.S.C. § 1334 and 11 U.S.C. §

727. This is a core proceeding under 28 U.S.C. § 157(b)(2)(J).


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                                         Cause of Action

       4. The allegations contained in paragraphs 1-3 are incorporated herein.

       5. Within eight (8) years before February 14, 2023 and on May 19, 2015, the debtors

filed a voluntary petition under Chapter 7 of Title 11. The debtors received a discharge on

September 1, 2015. See case no. 15-61711 in the United States Bankruptcy Court in Eugene,

Oregon.

       6. Respondents' discharge should be denied under § 727(a)(8).

       WHEREFORE, Movant prays that the discharge of these debtors from their debts be

denied, and that Movant have such other and further relief as is just.

Dated: May 4, 2023                                    JOHN P. FITZGERALD, III,
                                                      Acting United States Trustee for Region Four

                                                      By:   /s/ Margaret K. Garber

Margaret K. Garber (VSB No. 34412)
Office of the United States Trustee
210 First Street, Suite 505
Roanoke, Virginia 24011
(540) 857-2806
Margaret.K.Garber@usdoj.gov


                                    NOTICE OF HEARING

       PLEASE TAKE NOTICE that a hearing on the foregoing Motion will be held on June 1,
2023, at 10:30 a.m., in the U.S. Bankruptcy Court for the Western District of Virginia. This
matter will be heard via zoom video. For information on how to participate, a party should
contact Catherine James, Courtroom Deputy, at Catherine_James@vawb.uscourts.gov .

        If you do not want the Court to grant the relief requested in the motion, then,
pursuant to Local Rule 9013-1, you must file a response 7 days before the hearing date.
Absent a timely filed response, a proposed order will be tendered to the Court granting the
relief requested in the motion and the Court may treat the motion as conceded and enter
the proposed order without the necessity of holding a hearing.




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       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
may wish to consult one.)

                                                     JOHN P. FITZGERALD, III,
                                                     Acting United States Trustee for Region Four

                                                     By: /s/ Margaret K. Garber


                                 CERTIFICATE OF SERVICE

        I hereby certify that on this the 4th day of May, 2023, a true and correct copy of the
foregoing motion and notice was filed into the CM/ECF system which caused same to be served
upon counsel for the debtors and that copies were mailed by first-class mail and certified mail,
return receipt requested to James Edward McCabe and Angela Marie McCabe and by first-class
mail to counsel for the debtors.

                                                     /s/ Margaret K. Garber
                                                     Margaret K. Garber




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